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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 8:18-cr-234-T-35SPF
ALLAN BURT GUINTO,
a/k/a “Big Beefy”
PLEA AGREEMENT ADDENDUM
The United States of America, the defendant, Allan Burt Guinto, and
the attorney for the defendant, Benjamin Stechschulte, jointly file this
addendum to clarify the Plea Agreement filed as Docket Number 221 (the
Agreement).
The parties agree that “the Indictment,” as the term is used in the
Agreement, refers to the indictment that was operational at the time he
executed the Agreement, that is, the Second Superseding Indictment filed at

Docket Number 136. Specifically, the Agreement is meant by the parties to

 
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signify Mr. Guinto’s intention to plead guilty to Counts One, Two, and Eight
of the Second Superseding Indictment.

Tho
DATED this /7_ th day of January, 2019.

 

 

 

 

 

 

 

MARIA CHAPA LOPEZ
United States Attorney
(Mdthubil-Wowd
Bigeas. LA U oe .
Allan Burt Guinto Natalie Hirt Adams
Defendant Assistant United States Attorney
Benjamin Stechschulte Christopher F, “Muay
Attorney for Defendant Assistant United States Attorney

Chief, Violent Crimes and
Narcotics Section

 
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U.S. v. Christopher Cosimano, et al. Case No. 8:18-cr-234-T-35SPF

CERTIFICATE OF SERVICE
Thereby certify that on January 17, 2019, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which
will send a notice of electronic filing to the following: |

Jervis Wise, Esq.

Anne Borghetti, Esq.
Benjamin Stechschulte, Esq.
Jeff Brown, Esq.

T. Todd Doss, Esq.

By: /s/ Natalie Hirt Adams
. Natalie Hirt Adams

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